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^AO 199A (Rev. 6/97) Order Setting Conditions of Release                                                                Page 1         Pages




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                                     United States District Coui                                                 OCTIo
                                                Eastern           District of          Virginia               O^I^P-ti-mSTRICTCniiRr ^
                                                                                                                ALEXAWOBIA, ViHBlUlf

                   United States of America
                                                                        ORDER SETTING CONDITIONS
                                                                                       OF RELEASE
                                V.


 1                                                                Case Number:

                           Defendant


 FT IS ORDERED that the release of the defendant is subject to the following conditions:
                                                                                                  0
           (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

           (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any change in
                address and telephone number.

          (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as
                directed. The
                airected.     def^dant shall
                          Ihe defendant shall appear
                                              appeauUat {if blank,   to be notified)               United States District Court

                                                             on


                     yjLtiOVOrV-                                                          '   Date and Time                      •



                                       Release on Personal Recognizance or Unsecured Bond
 IT IS FURTHER ORDERED that the defendant be released provided that:

        ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
 (      ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                                                                                                          dollars ($_                    .)
                in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                  DISTRIBUTION:       COURT      DEFENDANT   PRETRIAL       SERVICES      U.S. ATTORNEY       U.S. MARSHAL
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